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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF TENNSSEE
                             WESTERN DIVISION
______________________________________________________________________

TIKEILA RUCKER,
RACHAEL SPRIGGS,
DAMON CURRY-MORRIS,
AMBER SHERMAN, and
LAJUANA ABRAHAM,

       Plaintiffs,


vs.                                                        Case No. 2:23-cv-2358-SHL-cgc

SHELBY COUNTY BOARD OF EDUCATION,

      Defendant.
______________________________________________________________________________

         STIPULATION OF DISMISSAL WITH PREJUDICE 41(a)(1)(A)(ii)
______________________________________________________________________________

       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii), the Parties hereby file this

Stipulation of Dismissal with Prejudice.



APPROVED FOR ENTRY:

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